                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
V.                                                           CAUSE NO. 1:21-CR-327-RC-1
                                                  §
                                                  §
LUKE RUSSELL COFFEE                               §

                      UNOPPOSED MOTION TO MODIFY PRETRIAL
                             CONDITIONS OF RELEASE
       TO THE HONORABLE RUDOLPH CONTRERAS, DISTRICT JUDGE OF THE

UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA:

       COMES NOW Defendant, Luke Russell Coffee, by and through his attorney of record,

Anthony J. Colton, hereby files this Unopposed Motion to Modify Pretrial Conditions, and would

show this Honorable Court as follows.

       On April 13, 2021, an Amended Order was entered setting the conditions of Mr. Coffee’s

release. Among those conditions, Mr. Coffee has been required to wear a GPS monitor and remain

in home confinement except for certain preapproved exceptions. Mr. Coffee has been in compliance

with the Court’s conditions since his release.

       Mr. Coffee is requesting the location monitoring and home detention conditions of his

release be removed.

       WHEREFORE, PREMISES CONSIDERED, Defendant prays that this Honorable Court

enter an Order granting this Motion to Modify Pretrial Conditions of Release.
                                               Respectfully submitted.

                                               MAUREEN SCOTT FRANCO
                                               Federal Public Defender


                                               /s/ ANTHONY J. COLTON
                                               Supervisory Assistant Federal Public Defender
                                               Western District of Texas
                                               200 East Wall St., Room 110
                                               Midland, Texas 79701
                                               Tel.: (830) 308-6040
                                               Attorney for Defendant




                             CERTIFICATE OF CONFERENCE
       I certify that I conferred with Melanie Alsworth, Assistant United States Attorney,
concerning this motion and she has stated the government is not opposed to the granting of this
motion.

                                                             /s/ ANTHONY J. COLTON




                                CERTIFICATE OF SERVICE
        I hereby certify that on the 30th day of August 2022, I electronically filed the foregoing
 Motion to Modify Pretrial Conditions of Release with the Clerk of Court using the CM/ECF
 system which will send notification of such filing to the following:


 Melanie Alsworth
 Assistant United States Attorney


                                               /s/ ANTHONY J. COLTON
                                               Attorney for Defendant
                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           §
                                                   §
                                                   §
V.                                                            CAUSE NO. 1:21-CR-327-RC-1
                                                   §
                                                   §
LUKE RUSSELL COFFEE                                §


                                              ORDER
       On this date came on to be considered the Defendant’s Motion to Modify Pretrial Conditions

of Release. The Court, having considered the premises, is of the opinion that the same should be

and is hereby GRANTED.

       The Court orders the removal of the location monitoring and home detention from Mr.

Coffee’s conditions. All other standard conditions will remain in place.

       SO ORDERED on this the               day of August 2022.




                                             HONORABLE RUDOLPH CONTRERAS
                                             United States District Judge
